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                           EXHIBIT 1
                           (PUBLIC)
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                                                                                         INTENSITY, LLC
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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION




      RAI STRATEGIC HOLDINGS, INC. and
      R.J. REYNOLDS VAPOR COMPANY,
                                                           Case No. 1:20-cv-00393
      Plaintiffs and Counterclaim
      Defendants,                                          REPORT OF
                                                           RYAN SULLIVAN, Ph.D.
      v.

      ALTRIA CLIENT SERVICES LLC; PHILIP
      MORRIS USA, INC.; and PHILIP
      MORRIS PRODUCTS S.A.,

      Defendants and Counterclaim
      Plaintiffs.




                             ____________________________________

                                    Ryan Sullivan, Ph.D.
                                       March 24, 2021




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        9.          Hypothetical Negotiations
(183)   A reasonable royalty can be determined through an analysis of what a willing licensor and a
        willing licensee would have bargained for during an arm’s-length, hypothetical negotiation
        occurring on the eve of infringement. 425                      I understand that the date of the hypothetical
        negotiation for the patents-in-suit would be the eve of first alleged infringement by Reynolds.
        In this case, the first infringement by Reynolds occurred on separate dates for each of the
        patents-in-suit. Therefore, the hypothetical negotiation for each of the asserted patents would
        occur at different points in time.

(184)   As discussed in Section 2.2, RJRV is the manufacturer for all of the VUSE accused products
        and their associated flavor packs. Thus, at the hypothetical negotiations for each of the
        patents-in-suit, RJRV would act as the licensee. To the extent that RAI is present at any of
        the hypothetical negotiations, my opinion remains unchanged.

(185)   Reynolds’ first alleged infringement of the ’545 patent occurred on or around March 2013,
        when the accused version of Reynolds’ VUSE Solo product launched. See Section 5. Thus,
        the hypothetical negotiation for the ’545 patent would occur on or around March 2013. As
        discussed in Section 4.1, PM USA is the assignee of the ’545 patent. Thus, the hypothetical
        negotiation for the ’545 patent would take place between PM USA as the licensor and RJRV
        as the licensee.

(186)   Reynolds’ first alleged infringement of the ’265 patent occurred on or around August 2018,
        when Reynolds’ VUSE Alto product launched.                                 See Section 5.            Thus, the hypothetical
        negotiation for the ’265 patent would occur on or around August 2018. As discussed in




        425     Applied Med. Resources Corp. v. U.S. Surgical Corp., 435 F.3d 1356, 1361 (Fed. Cir. 2006). (“When an established royalty
                does not exist, a court may determine a reasonable royalty based on ‘hypothetical negotiations between willing licensor
                and willing licensee.’ Fromson, 853 F.2d at 1574.”)

                Rite-Hite Corp. v. Kelley Co., Inc., 56 F.3d 1538, 1554 (Fed. Cir. 1995). (“A patentee is entitled to no less than a reasonable
                royalty on an infringer’s sales for which the patentee has not established entitlement to lost profits. 35 U.S.C. § 284 (1988);
                Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1078, 219 USPQ 679, 681-82 (Fed.Cir.1983) (‘If actual damages cannot
                be ascertained, then a reasonable royalty must be determined.’). The royalty may be based upon an established royalty, if
                there is one, or if not, upon the supposed result of hypothetical negotiations between the plaintiff and defendant. Id. at
                1078, 219 USPQ at 682. The hypothetical negotiation requires the court to envision the terms of a licensing agreement
                reached as the result of a supposed meeting between the patentee and the infringer at the time infringement began. Id.”)

                State Indus., Inc. v. Mor-Flo Indus., Inc., 883 F.2d 1573, 1580 (Fed. Cir. 1989). (“The determination of a reasonable royalty,
                however, is based not on the infringer's profit margin, but on what a willing licensor and licensee would bargain for at
                hypothetical negotiations on the date infringement started. Radio Steel & Mfg. Co. v. MTD Prod., Inc., 788 F.2d 1554, 1557,
                229 USPQ 431, 433 (Fed.Cir.1986).”)


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        Section 4.2, PMP is the assignee of the ’265 patent. Thus, the hypothetical negotiation for the
        ’265 patent would take place between PMP as the licensor and RJRV as the licensee.

(187)   Reynolds’ first alleged infringement of the ’911 patent occurred on or around October 23,
        2018, the issuance date of the patent. See Section 4. Thus, the hypothetical negotiation for
        the ’911 patent would occur on or around October 23, 2018. As discussed in Section 4.3,
        PMP is the assignee of the ’911 patent. Thus, the hypothetical negotiation for the ’911 patent
        would take place between PMP as the licensor and RJRV as the licensee.

(188)   Reynolds’ first alleged infringement of the ’374 patent occurred on or around September 24,
        2019, the issuance date of the patent. See Section 4. Thus, the hypothetical negotiation for
        the ’374 patent would occur on or around September 24, 2019. As discussed in Section 4.4,
        ACS is the assignee of the ’374 patent. Thus, the hypothetical negotiation for the ’374 patent
        would take place between ACS as the licensor and RJRV as the licensee.

(189)   Reynolds’ first alleged infringement of the ’556 patent occurred on or around February 11,
        2020, the issuance date of the patent. See Section 4. Thus, the hypothetical negotiation for
        the ’556 patent would occur on or around February 11, 2020. As discussed in Section 4.5,
        PMP is the assignee of the ’556 patent. Thus, the hypothetical negotiation for the ’556 patent
        would take place between PMP as the licensor and RJRV as the licensee.

(190)   The Meyer Report contends that there would be a single hypothetical negotiation for the ’265,
        ’911, and ’556 patents occurring in August 2018 between PMP as licensor and RJRV as
        licensee. 426 While I disagree with the Meyer Report’s claim that the parties would negotiate
        licenses for patents that did not yet exist (and, thus, the negotiation not occurring on the eve
        of infringement), the conclusions of my analysis would not change if, for some reason, it were
        determined that the appropriate date for the hypothetical negotiations for the’265, ’911, and
        ’556 patents would occur in August 2018 as the Meyer Report contends.




        426     Meyer Report, 2/24/2021, ¶¶ 121–124.


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        13.         Market Approach

        13.1. Overview
(258)   I utilize a market approach to evaluate royalties for the ’545, ’265, ’374, and ’911 patents.

(259)   The market approach is a method of ascertaining value by comparing historical transactions
        involving assets similar to the asset being evaluated. 579 The market approach is based on the
        premise that the value of an asset may be determined by reference to how others in the
        marketplace have valued the same or similar assets. 580 The market approach is a generally
        accepted and widely used methodology for valuation of both tangible and intangible assets,
        including patents. 581




        579   Smith, Gordon and Russell Parr (2000), Valuation of Intellectual Property and Intangible Assets, (Third Edition), New York, NY:
              John Wiley & Sons, Inc., at 175. (“The market approach provides indications of value by studying transactions of property
              similar to the property for which a value conclusion is desired.”)

              Anson, Weston (2005), Fundamentals of Intellectual Property Valuation: A Primer for Identifying and Determining Value,
              Chicago, IL: American Bar Association, at 34. (“[Under the market approach], intangible assets are valued by comparing
              recent sales or other transactions involving similar assets in similar markets. . .The market approach utilizes actual transaction
              values derived from the sale or license of similar assets.”)

              Corbett, Michaelyn, Mohan Rao, and David Teece (2006), “A Primer on Trademarks and Trademark Valuation,” in Daniel
              Slottje, ed., Economic Damages in Intellectual Property: A Hands-On Guide to Litigation, New Jersey: John Wiley & Sons, Inc.,
              at 291. (“The market approach references a market with comparable transactions to determine the fair market value of an
              asset.”)

              Financial Accounting Standards Board, Original Pronouncements as Amended, Statement of Financial Accounting Standards
              No. 157: Fair Value Measurements, 11/15/2007, at FAS157–10. (“The market approach uses prices and other relevant
              information generated by market transactions involving identical or comparable assets or liabilities[.]”
        580   Murphy, William, John Orcutt, and Paul Remus (2012), Patent Valuation: Improving Decision Making through Analysis,
              Hoboken, NJ: John Wiley & Sons, Inc., at 16. (“Market methods seek to determine the value of an asset by reference to how
              other buyers and sellers have valued the same or similar assets.”)

              Smith, Gordon and Russell Parr (2000), Valuation of Intellectual Property and Intangible Assets, (Third Edition), New York, NY:
              John Wiley & Sons, Inc., at 170. (“The market approach is the most direct and the most easily understood appraisal
              technique. It measures the present value of future benefits by obtaining a consensus of what others in the marketplace
              have judged it to be.”)

              Razgaitis, Richard (2003), Valuation and Pricing of Technology-Based Intellectual Property, Hoboken, NJ: John Wiley & Sons,
              Inc., at 59. (“One of the traditional approaches to the valuation for anything is commonly known as the market (or,
              sometimes, the comparables) method. The simple underlying idea is that there exists a historical transaction that was valued
              by other parties that can be used as a direct prediction of the value of the present opportunity.”)
        581   Anson, Weston (2005), Fundamentals of Intellectual Property Valuation: A Primer for Identifying and Determining Value,
              Chicago, IL: American Bar Association, at 30. (“[T]here are some basic, traditional methods of valuation: the three most
              popular are the market approach, the income approach, and the cost approach . . . [These are] three accepted and traditional
              methodologies[.]”)

              Smith, Gordon and Russell Parr (2000), Valuation of Intellectual Property and Intangible Assets, (Third Edition), New York, NY:
              John Wiley & Sons, Inc., at 173 (“The cost, income, and market approaches are the tools for valuation. Virtually any type of



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(260)   Under the market approach, patent royalties may be estimated using the terms of license
        agreements that are comparable 582 to the license resulting from the hypothetical negotiation. 583
        Adjustments to the terms of comparable agreements can be made where appropriate to
        account for technological and economic differences that may exist between the license
        resulting from the hypothetical negotiation. 584 For example, some of the economic issues that



              property can be valued using them.”), 175 (“Three generally accepted valuation methodologies are useful for valuing
              intellectual property and intangible assets. They are the market, cost, and income approaches.”).

              Murphy, William, John Orcutt, and Paul Remus (2012), Patent Valuation: Improving Decision Making through Analysis,
              Hoboken, NJ: John Wiley & Sons, Inc., at 16. (“The three basic valuation methodologies are income methods, market
              methods, and cost methods. Sometimes different names are used or some new valuation methodology is claimed, but all
              valuation methodologies can be traced back to these three fundamental approaches to valuation analysis.”)

              Razgaitis, Richard (2003), Valuation and Pricing of Technology-Based Intellectual Property, Hoboken, NJ: John Wiley & Sons,
              Inc., at 59. (“One of the traditional approaches to the valuation for anything is commonly known as the market (or,
              sometimes, the comparables) method.”)

              Financial Accounting Standards Board, Original Pronouncements as Amended, Statement of Financial Accounting Standards
              No. 157: Fair Value Measurements, 11/15/2007, at FAS157–10. (“Valuation techniques consistent with the market approach,
              income approach, and/or cost approach shall be used to measure fair value.”)

              Murphy, William, John Orcutt, and Paul Remus (2012), Patent Valuation: Improving Decision Making through Analysis,
              Hoboken, NJ: John Wiley & Sons, Inc., at 190. (“Market methods are regularly used to value patents.”)
        582   Throughout my report, I use the term comparable to refer to agreements or transactions that are sufficiently similar to the
              hypothetical negotiation such that differences between the agreement or transaction on the one hand, and the hypothetical
              negotiation on the other hand, can be reliably accounted for.
        583   Razgaitis, Richard (2003), Valuation and Pricing of Technology-Based Intellectual Property, Hoboken, NJ: John Wiley & Sons,
              Inc., at 60. (“[Applied to] technology licensing, the market valuation approach is the use of the terms of one or more
              comparable license agreements to estimate the value of the subject technology licensing opportunity . . . In many cases,
              applying the market valuation approach leads to numerous, say a dozen or more, agreements in the same broad technology
              category but no one of which, for different reasons, is exactly or near exactly comparable. In this circumstance, one may yet
              be able to estimate a royalty range from this family of agreements.”)

              Anson, Weston (2010), IP Valuation and Management, Chicago, IL: American Bar Association, at 199. (“[The comparables
              method] can be a superb way to establish royalty rates, given that sufficient comparable data and sufficient detail on the
              comparable pieces of data are available. In this method, royalties are established by comparing a licensing royalty rate to
              other licensing royalty rates that have been negotiated in the market.”)

              Corbett, Michaelyn, Mohan Rao, and David Teece (2006), “A Primer on Trademarks and Trademark Valuation,” in Daniel
              Slottje, ed., Economic Damages in Intellectual Property: A Hands-On Guide to Litigation, New Jersey: John Wiley & Sons, Inc.,
              at 292. (“The market approach is often helpful in determining running royalty rates in specific licensing transactions based
              on similar transactions in the marketplace.”)

              Anson, Weston (2005), Fundamentals of Intellectual Property Valuation: A Primer for Identifying and Determining Value,
              Chicago, IL: American Bar Association, at 207. (“Strong, but not necessarily definitive, evidence of the market rate for a
              license exists if the plaintiff has an established history of negotiating licenses for products comparable to the one that has
              been infringed. The historical evidence, however, is only a guide, a starting point.”)
        584   Frank, Peter, Vincent O’Brien, and Michael Wagner (2007), “Patent Infringement Damages,” in Roman Weil, et. al., ed.,
              Litigation Services Handbook: The Role of the Financial Expert, (Fourth Edition), Hoboken, NJ: John Wiley & Sons, Inc., at 22.
              (“[The third, fourth, fifth, and seventh factors of the court in Georgia-Pacific] raise fact (or descriptive) issues, and the analyst
              should evaluate them to judge how, if at all, observed royalty rates apply to the infringed product. If similarities exist between
              an actual license and the hypothetical license, the observed royalty rate can provide a starting point to ascertain the
              appropriate hypothetical rate. If differences exist between the licensing situations, the expert can make appropriate
              adjustments.”)




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        may impact the terms of a license that can be considered in a hypothetical negotiation analysis
        include exclusivity, geography, time period, market size, and competitive environment, among
        others. 585

(261)   Indeed, the Federal Circuit has approved “of a methodology that values the asserted patent
        based on comparable licenses…Such a model begins with rates from comparable licenses and
        then ‘account[s] for differences in the technologies and economic circumstances of the
        contracting parties.’” 586 In other words, agreements may be considered comparable if they are
        sufficiently similar such that adjustments can be made to accurately reflect the outcome of
        the hypothetical negotiation.

(262)   In addition, several Georgia-Pacific factors relate to royalties received by the patentee (factor
        1), rates paid by the licensee (factor 2), the patentee’s licensing practices and policies (factor
        4), and the portion of a selling price that may be customary for the contribution of an invention
        in the industry (factor 12). See Section 16.

(263)   The Fontem-RJRV agreement is sufficiently comparable to the circumstances of the
        hypothetical negotiations for the ’545, ’265, ’374, and ’911 patents for several reasons. As I




              Anson, Weston (2010), IP Valuation and Management, Chicago, IL: American Bar Association, at 52. (“[A]djustment and
              analysis of comparables that do exist are almost invariably necessary, and these adjustments in the hands of an experienced
              IP valuation analyst can be used to arrive at an accurate value.”)

              Corbett, Michaelyn, Mohan Rao, and David Teece (2006), “A Primer on Trademarks and Trademark Valuation,” in Daniel
              Slottje, ed., Economic Damages in Intellectual Property: A Hands-On Guide to Litigation, New Jersey: John Wiley & Sons, Inc.,
              at 292. (“Any market approach analysis will likely require reasonable adjustments.”)

              Leonard, Gregory and Lauren Stiroh (2005), “A Practical Guide to Damages,” in Gregory Leonard and Lauren Stiroh, ed.,
              Economic Approaches to Intellectual Property: Policy, Litigation, and Management, White Plains, NY: National Economic
              Research Associates, Inc., at 49. (“Market-based royalty determination methods must take explicit account of the
              idiosyncrasies of the particular patent being licensed, the parties to the negotiation, the alternatives to the technology at
              issue, and the timing of the hypothetical negotiation.”)
        585   Anson, Weston (2010), IP Valuation and Management, Chicago, IL: American Bar Association, at 205. (“Issues such as
              exclusivity, geography, time period, market size, and competitive environment all have to be considered in any analysis of
              hypothetical negotiation at the time when the cause of litigation occurred.”)
        586   Commonwealth Scientific and Industrial Research Organisation v. Cisco Systems, Inc., 809 F.3d 1295, 1303 (Fed. Cir. 2015).
              (Quoting Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1211 (Fed. Cir. 2010).)

              See also:

              LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 79 (Fed. Cir. 2012). (“Actual licenses to the patented technology
              are highly probative as to what constitutes a reasonable royalty for those patent rights because such actual licenses most
              clearly reflect the economic value of the patented technology in the marketplace.”)

              Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1325 (Fed. Cir. 2014). (“As we have held many times, using sufficiently comparable
              licenses is a generally reliable method of estimating the value of a patent.”)

              Ericsson, Inc. v. D-Link Systems, Inc., 773 F.3d 1201, 1227 (Fed. Cir. 2014). (“This court has recognized that licenses may be
              presented to the jury to help the jury decide an appropriate royalty award.”)


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        explain in more detail below, the Fontem-RJRV agreement involves the same licensee as the
        hypothetical negotiations, i.e., RJRV. The Fontem-RJRV agreement also involves the same
        products as the hypothetical negotiations, i.e., VUSE products.                                  Furthermore, the Fontem-
        RJRV agreement covers patents relating to e-cigarette technology. Additionally, I understand
        that the ’545 patent is technically comparable to patents in the Fontem Spray Atomizer family,
        the ’265 patent is technically comparable to the Fontem patents in the Air Channel family,
        the ’374 patent is technically comparable to the Fontem patents in the Reed Switch family,
        and the ’911 patent is technically comparable to the Fontem patents in the Shell Design
        family. 587 However, there are also differences between the Fontem-RJRV agreement and the
        circumstances of the hypothetical negotiations, such as the duration of the license, that must
        be accounted for as I describe below.

(264)   Fontem licensed RJRV                                                                                    . See Section 12.2.1.
        Product sales covered under the Fontem-RJRV license would have included at least the sales
        of VUSE Solo, VUSE Vibe, VUSE Ciro, and VUSE Alto from their date of first sale by RJRV
        because the date of first sale of each of the accused products was before the agreement’s
        effective date of 9/24/2018. 588 The date of first sale of VUSE Solo, VUSE Vibe, VUSE Ciro,
        and VUSE Alto occurred in 2013, 2016, 2017, and 2018 respectively. See Section 5 and
        Attachment D-4.

(265)   I calculate the effective percentage royalty rate paid by RJRV based on actual VUSE sales
        through 2020 and projected VUSE sales through 2025. Specifically,




        587     I understand that the ’374 patent also cites several of the Reed Switch family patents, which is another indication that the
                patents in the Reed Switch family are technically comparable to the ’374 patent. See:

                For the ’374 and ’545 patent: Interview with Travis N. Blalock. See Attachment A-5.

                For the ’265 patent: Interview with Jeffrey C. Suhling. See Attachment A-6.

                I understand that U.S. Patent No. 8,156,944 in the Shell Design Family includes similar disclosures about using a cavity or
                groove to help reduce liquid leakage. See:

                For ’911 patent: Interview with Kelly R. Kodama. See Attachment A-7.

                See also: Meyer Report, 2/24/2021, ¶¶ 200–202.
        588     Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA-001521387).
                (Indicating that current products included, among other things,




                See also Section 5.1.


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                                            . 589 See Attachments D-4 and D-5. The reason I utilize sales until
        2025 is that RJRV has produced sales projections that extend until 2025. 590 Using projections
        until 2025 results in an upper bound percentage royalty rate for all patents licensed as part
        of the Fontem-RJRV agreement of                             In other words, this percentage royalty rate is higher
        than the effective percentage royalty rate from the Fontem-RJRV agreement because it is
        calculated based on a lower revenue base. 591

(266)   There are a number of factors to consider in evaluating the Fontem-RJRV agreement relative
        to the hypothetical negotiations for the ’545, ’265, ’374 and ’911 patents, including the
        following:
        a. Parties. The Fontem-RJRV agreement involves Fontem as the licensor and RJRV as the
           licensee. See Section 12.2.1. At the hypothetical negotiations for the ’545, ’265, ’374 and
           ’911 patents, PM USA / PMP would be the licensor and RJRV would be the licensee. See
           Section 9. Since RJRV is the licensee for the Fontem-RJRV agreement as well as at the
           hypothetical negotiations, the royalty described in the Fontem-RJRV agreement is
           reflective of RJRV’s willingness to pay for a license.

        b. Products.            Products covered by the Fontem-RJRV agreement included

                                                                                . 592 As discussed above,
              product sales covered under the Fontem-RJRV license would have included at least the
              sales of VUSE Solo, VUSE Vibe, VUSE Ciro, and VUSE Alto
                    . 593 These are the same products that are at issue in this matter. See Section 5.

        c. Licensed technology. As discussed above, I understand that there are similarities between
           the Fontem Spray Atomizer family and the ’545 patent, the Fontem Air Channel family
           and the ’265 patent, the Fontem Reed Switch family and the ’374 patent, and the Fontem


        589     I evaluate sales in 2018-Q4 present value terms because the effective date of the Fontem-RJRV agreement was in Q4-2018.
                Accordingly the parties would have viewed sales in 2018-Q4 present value terms.

                See: Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA-
                001521385).
        590     See Attachment B-5.

                I understand that the information contained within the spreadsheets are extracted from an RJRV database. I also
                understand that the forecasts are created in the ordinary course of business and are used by RJRV to make business
                decisions. Interview with Scott Peddycord. See Attachment A-4.
        591     If sales through the last to expire patent marked on the VUSE products are used, the effective royalty rate would be
                See Attachment D-5.
        592     Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA_001521391).
        593     Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA-001521387).
                (Indicating that current products included, among other things,




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          Shell Design family and the ’911 patent family. 594 I also understand that Counterclaim
          Plaintiffs’ expert Mr. McAlexander alleges that “the technology claimed in the Spray
          Atomizer, Shell Design, Reed Switch, Body Sensitive Sensor & Atomizer, and Air Channel
          Patents in the Fontem-RJRV and                       Agreements are not comparable to the
          technology claimed in the '374 Patent.” 595 However, according to Dr. Blalock, I understand
          that the patents in the Reed Switch patent family are technically comparable to the ’374
          patent. 596

          The Fontem patents are more widely licensed than the ’545, ’265, ’374, and ’911 patents.
          See Section 12. Furthermore, I understand that the Fontem Spray Atomizer, Air Channel,
          and Reed Switch families are at least as valuable as the ’545, ’265, and ’374 patents,
          respectively. 597 I also understand that the claims made by Counterclaim experts that the
          ’911 patent is more valuable than the Shell Design family are unsubstantiated, as they do
          not account for the value of the absence of a detailed dimensional requirement for the
          interior structure of an e-cigarette device from the claims of the Shell Design family
          patents. 598

    d. Number of patents. The                         related to the Fontem-RJRV agreement
       covered                                             . Specifically, the licensed patents
       listed in Exhibit A of the Fontem-RJRV agreement include
                                                                                            . 599
       Furthermore, the Fontem-RJRV agreement also covered

                                                                                                                      . 600

    e. License duration.                The Fontem-RJRV agreement states that the agreement would




    594     For the ’374 and ’545 patent: Interview with Travis N. Blalock. See Attachment A-5.

            For the ’265 patent: Interview with Jeffrey C. Suhling. See Attachment A-6.

            For ’911 patent: Interview with Kelly R. Kodama. See Attachment A-7.

            See also: Meyer Report, 2/24/2021, ¶¶ 200–202..
    595     McAlexander Report, 2/24/2021, ¶ 727.
    596     Interview with Travis N. Blalock. See Attachment A-5.
    597     For the ’374 and ’545 patent: Interview with Travis N. Blalock. See Attachment A-5.

            For the ’265 patent: Interview with Jeffrey C. Suhling. See Attachment A-6.
    598      Interview with Kelly R. Kodama. See Attachment A-7
    599     Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA-001521415–
            420).

            See also:

            Meyer Report, 2/24/2021, ¶ 197.
    600     Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA_001521391,
            RJREDVA_001521395).


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                                                                                                                                 601
                                                                                               The
          last to expire patent in the Spray Atomizer family marked on VUSE products expires on
          June 11, 2027, the last to expire patent in the Air Channel family marked on VUSE
          products expires on January 28, 2030, the last to expire patent in the Reed Switch family
          marked on VUSE products expires on September 19, 2027, and the last to expire patent
          in the Shell Design family marked on VUSE products expires on June 13, 2028. See
          Attachment D-1. Damages herein are calculated through December 31, 2020, the latest
          date for which sales of the accused products have been provided.

    f.    Exclusivity. The Fontem-RJRV agreement conferred a non-exclusive license to the
          licensed technology. 602 Similarly, the parties at the hypothetical negotiations would likely
          agree to a non-exclusive license to the asserted patents. See Section 11.1.

    g. Geography.             The territory for the Fontem-RJRV agreement is the                                                        . 603



                     See Section 11.3.

    h. Relationship between the parties. Fontem and RJRV were competitors at the time the
       Fontem-RJRV agreement was executed with its blu e-cigarette product. 604 As such,
       royalties reflecting a competitive relationship are already built into the royalties specified
       in the Fontem-RJRV agreement. As described in Section 10, there would be some degree
       of a competitive relationship between RJRV and PMP/PM USA at the time of the
       hypothetical negotiations. Therefore, no further adjustment for a competitive relationship
       is necessary to compare the Fontem-RJRV agreement to the hypothetical negotiation.




    601     Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA_001521400).
    602     Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA_001521395).

            Exceptions to sublicensing include,




                                                                                                    See:

            Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA_001521396).

                                                                                                           . See:

            Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA_001521407–
            412).
    603     Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA_001521385).
    604     Fontem Press Release, “Fontem Acquires Leading Vaping Brand blu eCigs,” 7/1/2015,
            https://www.fontemventures.com/news/fontem-acquires-leading-vaping-brand-blu-
            ecigs/#:~:text=blu%20eCigs%2C%20the%20number%20one,blu%20to%20the%20Fontem%20family.


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        i.    Royalty structure. The Fontem-RJRV agreement involved                           . See
              Section 12.2.1. As I explain below, I convert the                    described in the
              Fontem-RJRV agreement into a percentage royalty that can be applied to the period over
              which damages are calculated.


        13.2. The ‘545 patent
(267)   To determine a reasonable royalty for the ’545 patent, I begin with the
        royalty the Meyer Report attributes to the ’545 patent based on the Fontem-RJRV agreement.
        This
                                              . 605 I understand that the last to expire patent in the Spray Atomizer
        family marked on the VUSE products expires on June 11, 2027. 606

(268)   One way to account for differences in license duration is to translate a
        into a running royalty. 607 Furthermore, as described in Section 11.4, a running royalty is
        likely the most appropriate royalty structure in this case. One can calculate the derived
        running royalty rate of a                                                    by
                                                                                      . 608

(269)   I translate the                                    in the Fontem-RJRV agreement attributable to the Spray
        Atomizer family into a percentage running royalty by dividing


                                                                                                                  . This results in a
        percentage royalty rate of                      associated with ’545 patent. See Attachment D-6.




        605     As discussed in Section 12.2.1,


                Sidak, Gregory J. (2016), “Converting Royalty Payment Structures for Patent Licenses,” The Criterion Journal on Innovation,
                1:901–914, at 903. (Indicating that the licensing parties “typically calculate a lump-sum payment in advance by using the
                licensee’s projected sales revenue or unit shipments for the duration of the license.”)
        606     See Attachment D-1.
        607     Sidak, Gregory J. (2016), “Converting Royalty Payment Structures for Patent Licenses,” The Criterion Journal on Innovation,
                1:901–914, at 905. (“Similarly, one can deconstruct a lump-sum royalty payment into a derived royalty rate. A licensee
                might make a lump-sum payment either collectively at the beginning of the license’s term or progressively following a
                schedule over that term. In either case, one can calculate the present value of projected revenues over the license’s term
                using the discounted cash flow (DCF) method by applying an appropriate discount rate[.]”)
        608     Sidak, Gregory J. (2016), “Converting Royalty Payment Structures for Patent Licenses,” The Criterion Journal on Innovation,
                1:901–914, at 906. (‘Dividing the lump-sum royalty payment by the present value of the licensee’s projected sales
                revenue . . . , one can calculate the derived royalty rate of a lump-sum royalty payment.”)


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(270)   I utilize the present value of VUSE sales through 2025 (rather than through patent expiration,
        as described in the Fontem-RJRV agreement) because Reynolds’ profit and loss forecasts only
        extend through 2025. As such, sales projections over this time period are more reliable.

(271)   Utilizing sales projections through the expiration of the last to expire patent in the Spray
        Atomizer family marked on VUSE products would result in a lower royalty rate of                                                     for
        the ’545 patent. See Attachment D-6.



        13.3. The ’265 patent
(272)   To determine a reasonable royalty for the ’265 patent, I begin with the
        royalty the Meyer Report attributes to the ’265 patent based on the Fontem-RJRV agreement.
        This
                                               . 609 I understand that the last to expire patent in the Air Channel
        family marked on VUSE products expires on January 28, 2030. 610

(273)   I translate the                                      in the Fontem-RJRV agreement attributable to the Air
        Channel family into a percentage running royalty by


                                                                                                  . This results in a percentage
        royalty rate of                for the ’265 patent. See Attachment D-7.

(274)   Similar to the ’545 patent analysis, I utilize the present value of VUSE sales through 2025
        (rather than through patent expiration, as described in the Fontem-RJRV agreement) because
        Reynolds’ profit and loss forecasts only extend through 2025. As such, sales projections over
        this time period are more reliable.

(275)   Utilizing sales projections through expiration of the last to expire patent in the Air Channel
        family marked on VUSE products would result in a lower royalty rate of                                                for the ’265
        patent. See Attachment D-7.




        609     As discussed in Section 12.2.1,


                See also: Sidak, Gregory J. (2016), “Converting Royalty Payment Structures for Patent Licenses,” The Criterion Journal on
                Innovation, 1:901–914, at 903. (Indicating that the licensing parties “typically calculate a lump-sum payment in advance
                by using the licensee’s projected sales revenue or unit shipments for the duration of the license.”)
        610     See Attachment D-1.


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        13.4. The ’374 patent
(276)   I understand that the ’374 patent is technically similar to the Fontem patents in the Reed
        Switch family. 611 I further understand that 10% of the value of the portfolio of patents in the
        Fontem-RJRV agreement is attributable to the Reed Switch patent family, as claimed by Mr.
        McAlexander and in the Meyer Report. 612 In other words,
                            is attributable to the Reed Switch family. 613 This
                                                                                                                                        . 614 I
        understand that the last to expire patent in the Reed Switch family expires on September 19,
        2027. 615

(277)   I translate the                                     in the Fontem-RJRV agreement attributable to the Reed
        Switch family into a percentage running royalty by


                                                                                                  . This results in a percentage
        royalty rate of               . See Attachment D-9.

(278)   Similar to the ’545 patent and ’265 patent analyses, I utilize the present value of VUSE sales
        through 2025 (rather than through patent expiration, as described in the Fontem-RJRV
        agreement) because Reynolds’ profit and loss forecasts only extend through 2025. As such,
        sales projections over this time period are more reliable.

        Utilizing sales projections through expiration of the last to expire patent in the Reed Switch
        family marked on VUSE products would result in a lower royalty rate of                                                            See
        Attachment D-9.




        611     Interview with Travis N. Blalock. See Attachment A-5.
        612     McAlexander Report, 2/24/2021, ¶¶ 10, 728.

                Meyer Report, 2/24/2021, Table 7.
        613     10% ×                             .
        614     As discussed in Section 12.2.1,


                See also: Sidak, Gregory J. (2016), “Converting Royalty Payment Structures for Patent Licenses,” The Criterion Journal on
                Innovation, 1:901–914, at 903. (Indicating that the licensing parties “typically calculate a lump-sum payment in advance
                by using the licensee’s projected sales revenue or unit shipments for the duration of the license.”)
        615     See Attachment D-1.


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        13.5. The ’911 patent
(279)   To determine a reasonable royalty for the ’911 patent, I begin with the
        royalty the Meyer Report attributes to the ’911 patent based on the Fontem-RJRV agreement.
        This
                                               . 616 I understand that the last to expire patent in the Shell Design
        family marked on VUSE products expires on June 13, 2028. 617

(280)   I translate the                                     in the Fontem-RJRV agreement attributable to the Shell
        Design family into a percentage running royalty by


                                                                                                  . This results in a percentage
        royalty rate of               . See Attachment D-8.

(281)   Similar to the ’545 patent, ’265 patent, and ’374 patent analyses, I utilize the present value of
        VUSE sales through 2025 (rather than through patent expiration, as described in the Fontem-
        RJRV agreement) because Reynolds’ profit and loss forecasts only extend through 2025. As
        such, sales projections over this time period are more reliable.

        Utilizing sales projections through expiration of the last to expire patent in the Shell Design
        family marked on VUSE products would result in a lower royalty rate of                                                        .   See
        Attachment D-8.




        616     As discussed in Section 12.2.1,


                See also: Sidak, Gregory J. (2016), “Converting Royalty Payment Structures for Patent Licenses,” The Criterion Journal on
                Innovation, 1:901–914, at 903. (Indicating that the licensing parties “typically calculate a lump-sum payment in advance
                by using the licensee’s projected sales revenue or unit shipments for the duration of the license.”)
        617     See Attachment D-1.


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        14.         Cost Approach

        14.1. Overview
(282)   The cost approach is based on the economic principle of substitution and seeks to measure
        the future benefits of ownership of an asset by quantifying the amount of money required to
        replace the asset with something of similar utility. 618 The cost approach is especially useful
        for appraising highly specialized property and can be useful in cases where a comparable
        asset can be implemented and where the costs for the comparable asset are known or can be
        estimated. 619




        618     Smith, Gordon and Russell Parr (2000), Valuation of Intellectual Property and Intangible Assets, (Third Edition), New York,
                NY: John Wiley & Sons, Inc., at 197-198. (“The cost approach seeks to measure the future benefits of ownership by
                quantifying the amount of money that would be required to replace the future service capability of the subject intellectual
                property.”)

                Anson, Weston (2005), Fundamentals of Intellectual Property Valuation: A Primer for Identifying and Determining Value,
                Chicago, IL: American Bar Association, at 33. (“The cost approach is based on the economic principle of substitution.
                Essentially, the premise is that potential buyers will pay no more for an asset than it would cost them to develop or obtain
                another asset of similar utility.”)

                Corbett, Michaelyn, Mohan Rao, and David Teece (2006), “A Primer on Trademarks and Trademark Valuation,” in Daniel
                Slottje, ed., Economic Damages in Intellectual Property: A Hands-On Guide to Litigation, New Jersey: John Wiley & Sons,
                Inc., at 291. (“The cost approach values assets based on the cost to create and develop the assets.”)

                Financial Accounting Standards Board, Original Pronouncements as Amended, Statement of Financial Accounting
                Standards No. 157: Fair Value Measurements, 11/15/2007, at FAS157–11. (“The cost approach is based on the amount
                that currently would be required to replace the service capacity of an asset[.]”)

                Leonard, Gregory and Lauren Stiroh (2005), “A Practical Guide to Damages,” in Gregory Leonard and Lauren Stiroh, ed.,
                Economic Approaches to Intellectual Property: Policy, Litigation, and Management, White Plains, NY: National Economic
                Research Associates, Inc. at 55–56. (“The licensee’s willingness to pay for the patent at issue is primarily driven by the
                profits flowing from the patent relative to the next-best alternative. Most important in making this determination are the
                full economic costs of avoiding the patent. The patent can be avoided by abandoning the infringing features or product
                lines and focusing on sales of other products incorporating a noninfringing alternative into the accused product lines, or
                designing around the patent. Thus, a fundamental determinant of the value of the patent to the licensee is the availability
                of noninfringing alternatives. This means that a necessary step in determining a reasonable royalty is to evaluate the
                option available to the licensee and, if possible to determine the cost (in both time and dollars) of designing around the
                patent.”)
        619     Smith, Gordon and Russell Parr (2000), Valuation of Intellectual Property and Intangible Assets, (Third Edition), New York,
                NY: John Wiley & Sons, Inc., at 208. (“The cost approach is especially useful for appraising highly specialized property . . .
                [and] is also very useful as a valuation method for certain intangible assets, such as computer software[.]”)

                Corbett, Michaelyn, Mohan Rao, and David Teece (2006), “A Primer on Trademarks and Trademark Valuation,” in Daniel
                Slottje, ed., Economic Damages in Intellectual Property: A Hands-On Guide to Litigation, New Jersey: John Wiley & Sons,
                Inc., at 291.


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(283)   Under the cost approach, patent royalties may be informed by calculating the cost savings
        gained by the infringer as a result of its infringing use of the patented technology. 620
        Specifically, a reasonable royalty may be informed using this method by comparing the cost
        difference “between what the defendant did that was infringing with a non-infringing
        alternative that the defendant could have done.” 621                              The costs that are included when
        calculating value with the cost approach method should be considered within the current
        economic environment. 622

(284)   The Federal Circuit has approved of the cost approach as a “well settled” and “appropriate
        approach” that is informative for a reasonable royalty. 623 The Federal Circuit has stated that
        the requirement for valuing a patented technology during a hypothetical negotiation can be
        met “if the patentee adequately shows that the defendant’s infringement allowed it to avoid
        taking a different, more costly course of action” and the price for the hypothetical license may
        consider the “‘costs and availability of non-infringing alternatives’ and the potential infringer’s
        ‘cost savings.’” 624 For example, the Court in Finjan, Inc. v. Cisco Systems Inc. found: 625
                  “Reliance upon estimated cost savings from use of the infringing product is a
                  well settled method of determining a reasonable royalty.” Hanson v. Alpine
                  Valley Ski Area, Inc., 718 F.2d 1075, 1080-81 (Fed. Cir. 1983). Under this
                  method, “[a] price for a hypothetical license may appropriately be based on



        620     Anson, Weston (2005), Fundamentals of Intellectual Property Valuation: A Primer for Identifying and Determining Value,
                Chicago, IL: American Bar Association, at 33. (“The cost method assesses the value of assets by measuring the expenditures
                necessary to replace the assets in question. The historical cost to develop the intellectual property, or cost basis, is
                sometimes used to determine value.”)
        621     Acceleration Bay LLC v. Activision Blizzard Inc., No. 1:16-CV-00453-RGA, 2020 WL 474650, at PDF 3 (D. Del. Jan. 29, 2020).

                See also:

                Leonard, Gregory and Lauren Stiroh (2005), “A Practical Guide to Damages,” in Gregory Leonard and Lauren Stiroh, ed.,
                Economic Approaches to Intellectual Property: Policy, Litigation, and Management, White Plains, NY: National Economic
                Research Associates, Inc. at 55–56. (“The licensee’s willingness to pay for the patent at issue is primarily driven by the
                profits flowing from the patent relative to the next-best alternative. Most important in making this determination are the
                full economic costs of avoiding the patent. The patent can be avoided by abandoning the infringing features or product
                lines and focusing on sales of other products incorporating a noninfringing alternative into the accused product lines, or
                designing around the patent. Thus, a fundamental determinant of the value of the patent to the licensee is the availability
                of noninfringing alternatives. This means that a necessary step in determining a reasonable royalty is to evaluate the
                option available to the licensee and, if possible to determine the cost (in both time and dollars) of designing around the
                patent.”)
        622     Anson, Weston (2005), Fundamentals of Intellectual Property Valuation: A Primer for Identifying and Determining Value,
                Chicago, IL: American Bar Association, at 33.
        623     Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1080–1081 (Fed. Cir. 1983). (“Reliance upon estimated cost savings
                from use of the infringing product is a well settled method of determining a reasonable royalty. . . The method is
                appropriate where other approaches (such as established royalty or lost profits) would be ‘difficult.’”)
        624     Prism Techs. LLC v. Sprint Spectrum L.P., 849 F.3d 1360, 1376 (Fed. Cir. 2017).
        625     Finjan, Inc. v. Cisco Systems Inc., Case No. 17-cv-00072-BLF, Order on Daubert Motions, 4/17/2020, at 7.


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                  consideration of the ‘costs and availability of non-infringing alternatives’ and
                  the potential infringer’s ‘cost savings.’” Prism Techs. LLC v. Sprint Spectrum
                  L.P., 849 F.3d 1360, 1376 (Fed. Cir. 2017) (affirming damages award that was
                  based, in part, on the costs saved by renting an infringing backhaul structure
                  versus building a non-infringing backhaul structure) (citation omitted). This
                  “cost savings” method in determining a reasonable royalty compares the
                  difference in cost “between what the defendant did that was infringing with a
                  non-infringing alternative that the defendant could have done.” Acceleration
                  Bay LLC v. Activision Blizzard Inc., No. 1:16-CV-00453-RGA, 2020 WL 474650,
                  at *2 (D. Del. Jan. 29, 2020).

(285)   I have discussed potential design-arounds with Eric Hunt, a Reynolds employee who has
        knowledge of the accused products and the proposed changes that would need to be made to
        avoid the alleged infringement. I have also confirmed my understanding with discussions
        with technical experts Dr. Suhling and Mr. Kodama.

(286)   I understand that each of the proposed design changes discussed below could have been
        implemented with the PMTA filings for each of the accused VUSE products. 626 Additionally, I
        understand that, if the proposed design-arounds work as well as the allegedly infringing
        design, then the use of a design-around would not make PMTA authorization less likely. 627 I
        also understand that there is no indication that the timing of the review would be affected by
        including the proposed design-arounds in the original PMTA submissions. 628

(287)   In relation to the proposed design-arounds, the Meyer Report states that “RJRV [has] not
        explained how it would have, much less provided any evidence that it could have, implemented
        its alleged design arounds of these products to address the FDA’s compliance policy and
        therefore keep its redesigned products on the market in the U.S.” 629 The Meyer Report’s
        argument is misguided. The cost of a design-around would be a relevant consideration at the
        hypothetical negotiations since it can provide a reasonable measure of the value of the
        patented technology. It would be improper to assign value to a technology based on potential
        delays that could arise from seeking PMTA authorization for an available alternative because
        such value would not be premised on the actual contributions of the technology. Instead, the
        parties to the hypothetical negotiations would evaluate the proposed design-arounds in the
        context of a willing licensor and a willing licensee seeking to reach an agreement.



        626     Interview with David B. Clissold. See Attachment A-9.
        627     Interview with David B. Clissold. See Attachment A-9.
        628     Interview with David B. Clissold. See Attachment A-9.
        629     Meyer Report, 2/24/2021, ¶ 484.


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        14.2. The ’265 patent
(288)   Based on discussions with Eric Hunt and Dr. Jeffrey C. Suhling, I understand that RJRV
        would be able to incorporate a non-infringing alternative to the ’265 patent for the accused
        Alto products. 630

(289)   I understand that the claims of the ’265 patent require a thermal resistor in the shape of a
        sinuous line or dual coil. 631


                 . 632
                                                                . 633

(290)   According to Mr. Hunt,
                                                   . 634


                                                                                        . 635




        630     Interview with Eric Hunt. See Attachment A-3.

                Interview with Jeffrey C. Suhling. See Attachment A-6.

                See also:

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.
        631     Interview with Jeffrey C. Suhling. See Attachment A-6.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4. (“Each asserted claims [sic] of the ’265 patent requires,
                inter alia, ‘a thermal resistor comprising a metallic foil or a thin sheet in a shape of a dual coil and/or sinuous line.’”)
        632     Interview with Jeffrey C. Suhling. See Attachment A-6.
        633     Interview with Jeffrey C. Suhling. See Attachment A-6.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.



        634     Interview with Eric Hunt. See Attachment A-3.
        635     Interview with Eric Hunt. See Attachment A-3.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
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                       . 636


                                                                             . 637


                                                                     . 638



        14.3. The ’911 patent
(291)   Based on discussions with Eric Hunt and Kelly R. Kodama, I understand that RJRV would be
        able to design around the ’911 patent
                                                                     . 639




                         . 640




        636     Interview with Eric Hunt. See Attachment A-3.
        637     Interview with Eric Hunt. See Attachment A-3.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.



        638     Interview with Eric Hunt. See Attachment A-3.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.



        639     Interview with Eric Hunt. See Attachment A-3.

                Interview with Kelly R. Kodama. See Attachment A-7.

                See also:

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.
        640     Interview with Kelly R. Kodama. See Attachment A-7.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.




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                                       . 641

(292)   According to Mr. Hunt, implementing such a change would be relatively simple and would not
        have any significant impact on product performance. 642




                           . 643

(293)


                             . 644




        641     Interview with Kelly R. Kodama. See Attachment A-7.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.




        642     Interview with Eric Hunt. See Attachment A-3.
        643     RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.




        644     Interview with Eric Hunt. See Attachment A-3.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.




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                     .645




(294)                                                                                                                    .647


                                                                                                        .648
                                                                                         .649

(295)
                  .650


                                                        .651




        645     Interview with Eric Hunt. See Attachment A-3.
        646     See Attachments E-1 and E-2.
        647     See Attachment E-3.
        648     Interview with Eric Hunt. See Attachment A-3.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.


        649     Interview with Eric Hunt. See Attachment A-3.

                RAI Strategic Holdings, Inc. and R.J. Reynolds Vapor Company’s Nineteenth Supplemental Objections and Responses to
                Altria Client Services LLC, Philip Morris USA, Inc., And Philip Morris Products S.A.’s First Set of Interrogatories (No. 4),
                3/24/2021, at Third Supplemental Response to Interrogatory No. 4.



        650     Interview with Eric Hunt. See Attachment A-3.
        651     Interview with Eric Hunt. See Attachment A-3.


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        17.         Reasonable Royalties
(365)   Based upon the entirety of research and analysis contained throughout my report, including
        attachments and referenced materials, I have determined reasonable royalties for the patents
        in-suit as set forth below. I have qualitatively and quantitatively addressed the Georgia-Pacific
        factors throughout my report. Section 16 of my report outlines how I have addressed each
        Georgia-Pacific factor, with references to other parts of my report that provide additional detail
        on the impact of the factor on the determination of a reasonable royalty.                                          The approach
        detailed in my report demonstrates that the reasonable royalties set forth herein represent an
        upper bound.

(366)   As discussed in Section 8.4, reasonable royalties would be no more than                                                for the ’556
        patent. See also Attachment F-5.

(367)   As discussed in Section 13.2,                        is an appropriate percentage running royalty rate for the
        ’545 patent. Applying this percentage royalty rate to net sales of VUSE Solo, VUSE Vibe,
        VUSE Ciro, and VUSO Alto devices and cartridges respectively from June 29, 2014 through
        December 31, 2020 results in reasonable royalties for the ’545 patent of                                                    . 676 See
        Attachment G-1.

(368)   As discussed in Section 13.3,                        is an appropriate percentage running royalty rate for the
        ’265 patent. Applying this percentage royalty rate to net sales of VUSO Alto cartridges over
        the damages period results in reasonable royalties for the ’265 patent of                                                     .   See
        Attachment G-3.

(369)   As discussed in Section 13.5,                        is an appropriate percentage running royalty rate for the
        ’911 patent. Applying this percentage royalty rate to net sales of VUSE Solo, VUSE Vibe,
        VUSE Ciro, and VUSO Alto cartridges over the damages period results in reasonable royalties
        for the ’911 patent of                             See Attachment G-4. 677

(370)   As discussed in Section 13.4,                        is an appropriate percentage running royalty rate for the
        ’374 patent. Applying this percentage royalty rate to net sales of VUSE Solo, VUSE Vibe,
        VUSE Ciro, and VUSO Alto devices and cartridges respectively over the damages period results
        in reasonable royalties for the ’374 patent of                                    See Attachment G-5.



        676     I provide an alternative damages calculation in Attachment G-2 with damages starting on June 29, 2020.
        677     Attachment G-6 shows reasonable royalties attributable to Solo G1 vs. Solo G2.


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(371)   Reasonable royalties based on the market approach for the ’545, ’265, ’911, and ’374 patents
        are shown below in Tables 7, 9, 10, and 11, respectively. Table 8 shows reasonable royalties
        for the ’545 patent with damages beginning June 29, 2020.


         Table 7: Market Approach Reasonable Royalties for the ’545 Patent (6/29/2014–12/31/2020) 678

                                                                               Reasonable Royalties
                          Product
                                                          Devices                     Cartridges                      Total
                             Solo

                             Vibe

                             Ciro

                             Alto

                            Total


(372)   The reasonable royalties described above result in an effective per-unit royalty of                                                per
        unit for the ’545 patent. See Attachment G-7.




        678     See Attachment G-1.




                                       See: Meyer Report, 2/24/2021, ¶ 486–487, Table 13, Attachment 12.1.




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         Table 8: Market Approach Reasonable Royalties for the ’545 Patent (6/29/2020–12/31/2020) 679

                                                                               Reasonable Royalties
                          Product
                                                          Devices                     Cartridges                      Total
                             Solo

                             Vibe

                             Ciro

                             Alto

                            Total




                           Table 9: Market Approach Reasonable Royalties for the ’265 Patent 680

                                                                               Reasonable Royalties
                           Product
                                                          Devices                     Cartridges                      Total
                             Alto


(373)   The reasonable royalties described above result in an effective per-unit royalty of                                                per
        unit for the ’265 patent. See Attachment G-7.




        679     See Attachment G-2.




                                       See: Meyer Report, 2/24/2021, ¶ 486–487, Table 13, Attachment 12B.

                                                                  t cartridges are found to infringe the ’545 patent, reasonable royalties for
                the ’545 patent for the VUSE Alto would be 0.
        680     See Attachment G-3.


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                          Table 10: Market Approach Reasonable Royalties for the ’911 Patent 681

                                                                               Reasonable Royalties
                           Product
                                                          Devices                     Cartridges                      Total

                             Solo

                             Vibe

                             Ciro

                             Alto

                             Total


(374)   The reasonable royalties described above result in an effective per-unit royalty of                                                per
        unit for the ’911 patent. See Attachment G-7.


                          Table 11: Market Approach Reasonable Royalties for the ’374 Patent 682

                                                                               Reasonable Royalties
                          Product
                                                          Devices                     Cartridges                      Total
                             Solo

                             Vibe

                             Ciro

                             Alto

                            Total


(375)   The reasonable royalties described above result in an effective per-unit royalty of                                                per
        unit for the ’374 patent. See Attachment G-7.

(376)   Total reasonable royalties for the patents-in-suit as calculated herein are shown below in
        Tables 12 and 13, respectively. Table 13 shows total reasonable royalties with the ’545 patent
        damages beginning June 29, 2020.




        681     See Attachment G-4.
        682     See Attachment G-5.



                                                                                                                            See: Meyer Report,
                2/24/2021, ¶ 486–487, Table 13, Attachment 15A.




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                                Table 12: Total Reasonable Royalties for the Patents-in-Suit 683

                                                                               Reasonable Royalties
                           Patent
                                                          Devices                     Cartridges                      Total
                         ’545 Patent

                         ’265 Patent

                         ’911 Patent

                         ’374 Patent

                         ’556 Patent

                            Total


        Table 13: Total Reasonable Royalties for the Patents-in-Suit (’545 Patent Damages Starting June
                                                                   29, 2020) 684

                                                                               Reasonable Royalties
                           Patent
                                                          Devices                     Cartridges                      Total
                         ’545 Patent

                         ’265 Patent

                         ’911 Patent

                         ’374 Patent

                         ’556 Patent

                            Total


(377)   The reasonable royalties derived herein represent upper bounds for the following reasons.
        First, as discussed in Section 8.3.4, the Fontem patent families from which the reasonable




        683     See Attachment G-8.



                                                                                                                                    See: Meyer
                Report, 2/24/2021, ¶ 486–487, Table 13, Attachments 12A, 15A.




        684     See Attachment G-9.



                                                                                                                                  . See: Meyer
                Report, 2/24/2021, ¶ 486–487, Table 13, Attachments 12B, 15A.




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        royalty rates are derived are at least as valuable as the ’545, ’265, ’374, and ’911 patents. For
        example, the Fontem patents are widely licensed whereas the asserted patents are not.
        Second, in arriving at reasonable royalty rates, I do not assign value to
                                                                                        even though these patent families and
        design patents are likely to have some value associated with them. In doing so, I assign more
        value to the Spray Atomizer, Air Channel, Reed Switch and Shell Design patents to which the
        ’545, ’265, ’374, and ’911 patents are comparable. Third, I utilize projected net sales through
        only 2025 when evaluating an effective royalty based on the Fontem-RJRV agreement.
        Utilizing sales projections through patent expiration for each patent family would result in a
        lower royalty rate. Fourth, as discussed in Section 8.4 in relation to the ’556 patent, the
        parties would consider that, relative to the Ciro product, the allegedly infringing design on the
        Vibe provides no materials cost savings.

(378)   The royalties herein are reasonable and would be agreeable to the parties at the hypothetical
        negotiations for several reasons. First, the royalties are commensurate with or greater than
        the inherent value of the claimed inventions. As discussed above, the royalties represent
        upper bounds.             Second, the royalties herein are in line with or greater than royalties
        determined by the market via the Fontem-RJRV agreement. See Section 13. Third, the royalty
        analysis herein accounts for and is consistent with the Georgia-Pacific factors, as discussed
        in Section 16. Fourth, the royalties for the ’265, and ’911 patents are reasonable in light of
        their potential costs for implementing a design-around. For example, the costs to implement
        a design around for the ’265 patent would total                                                     . See Section 14.2. The
        costs to implement a design around for the ’911 patent would total                                                            .   See
        Attachment E-3.




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Attachment D-4
2018-Q4 Value of Net Sales of the Accused Products (2013–2030)



 Description                          Source       2013          2014   2015   2016   2017   2018   2019   2020   2021    2022




                                                                                                                         Attachment D-4
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  Description                                          Source            2023                2024            2025                2026             2027                2028                2029     2030   Total




Notes and sources:
[A]–[D]:
    2013–2019: Meyer Report, 2/24/2021, at Attachment 17.
    2020: from Attachment B-1 at Net Sales for each product.
    2021–2025: from Attachment D-2 at [A]–[D].
    2026–2030: from Attachment D-3 at [A]–[D].
[E] calculated as factor required to obtain present value as of 2018-Q4, around the time the Fontem-RJRV agreement was executed. See:
    Fontem-RJRV US Settlement and License Agreement, 9/24/2018 (RJREDVA_001521385–1559, at RJREDVA_001521385).
    Calculation uses midpoint convention, where annual net sales are assumed to occur at the midpoint of each year:
           2013–2018: set to 0 since all net sales are assumed to occur prior to license execution date.
           2019–2030: calculated as Year - 2018 - 0.25.
[F] = 1 / (1 + Present value rate)^[E].
    Present value rate is equal to rate used in RJRV Ciro Business Case Workbook, c. 2017 (RJREDVA_001543081, at tab 'Solo+', cell B33).
           Present value rate:                                                  7.5%
                                                                                                                                           See Attachment A-9 (Discussion with Nicholas Gilley).
[G] = [A] × [F].
[H] = [B] × [F].
[ ] = [C] × [F].
[J] = [D] × [F].
[K] = [G] + [H] + [ ] + [J].




                                                                                                                                                                                                                  Attachment D-4
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Attachment D-5
Effective Royalty Rate for Fontem Portfolio



  Description                                                    Source   Value




Notes and sources:
[A] from Meyer Report, 2/24/2021, at Attachment 11.




                                                                                                             Attachment D-5
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